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                EXHIBIT 14
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,
        Memorandum


        Subject                                                          Dare
        Internet Presentation wilh McKesson Corp. on September 1,
        2005
        (DFN: 060-06.05)                                                              OC1 2 o 2005


       To                                                       From     k./
        Joseph Rannazzisi                                       Michael~.( Mapes, Chief
        Acting Deputy Assistant Administrator                   E-Commerce Section (ODC)
        Office of Diversion Control

       On September 1, 2005, a meeting was held at lhe Office of Diversion Control conference room. In
       attendance were Mr. John Gilbert, Legal Counsel, Ronald Bone, Senior Vice President, Distribution
       Support, Gary Hillard, Director of Regulatory Affairs, Michael R. Mapes, Chief, E-Commerce Section,
       Charles E. Trant, Office of Chief Counsel, Diversion & Regulatory Litigation Division, Jim Crawford
       Office of Diversion Control, and Kyle J. Wright, Chref, E-Commerce Operations Unit The purpose of
       the meeting was to address the illegal domestic Internet pharmacy problem and !heir source of supply.

       Mr. Mapes opened the meeting by presenting to-the representatives of McKesson Corp. a power point
       briefing which explained the common charac1cristics of lntemc1 pharmacies and why their activities are
       illegal. Reviewed with the rcpreseniativcs of McKesson Corp. were:
           • Supreme Court Cases and Immediate Suspension orders of Internet pharmacies.
           • Establishing the medical need necessity for a prescription to be legal.
           • The DEA Internet Policy.
           • Verified Internet Pharmacy Practice Sites (VIPPS).
           • Policies published by the American Medical Association (AMA) and the Federation of State
               Medical Boards.
           • Review of the suspicious order requirements Title 21, Code of Federal Regulations.
           • Common practices and ordering patterns of Internet pharmacies.

       After the presentation, Mr. Mapes presented to representatives of McKesson Corp. specific customers of
       McKesson Corp., who have ordered substantial quantities of hydrocodone products. These specific
       customers of McKesson Corp. were:
           • United Prescription Services
           • Ninth Avenue Pbann~cy
                                  I

       Mr. Mapes finalized the presentation by advising the representatives of McKesson Corp. that they needed
       to thoroughly review the materials which had been presented to !hem and review in-depth tbe purchasing
       patterns and quantities oftbeircustomers. Representatives of McKesson Corp. acknowledged
       understanding of lhe material presented.

                                                                                           DOC. NO. t:J &· {,b
                                                                                           GOYT. IXll.~
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    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MCKMDL00496859
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       In consultation with Mr. Trant, it was agreed, that if E-Commerce Operations (ODCO) were to iden
       highly suspicious pharmacy lo which McKesson Corp. was the wl1olesaler, ODCO would notify
       McKesson Corp. via e-mail of the suspicious activity for McKesson Corp. lo review and take U1e actions
       the company deems appropriate. Mr. Mapes also informed the representatives of McKesson Corp., if he
       desired further information, or training. lo notify ODCO which would provide the requested information
       or training.

       The meeting between McKesson Corp. and DEA was ended at this time, with each party having a cl
       understanding and agreement as to bow best address the sources of supply to Internet phannacies.

       Attachments:
           I. Briefing Binder
           2. Material on McKesson Corp. Customers

       bee: vb'FN: 060-06.05
              Chron

       ODC
       oocQ@:KWright:ptn:703 -653-2 I03:101211os
       Filename: McKesson.doc




    CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MCKMDL00496860
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                           ISSUES TO CONSIDER
                   • Frequency of Orders
                   • Size of Orders
                   • Range of Products Purchased
                   • Payment Method
                   0
                     Pharmacy Location
                       0
                   •   /o Controlled vs. 0/o Non-Controlled
                   • Customer pick up at distributor

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                                                                           ' .•l




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                        MCKMDL00496862
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                             Supreme Court Case
                  • Direct Sales Co, Inc. v. United States (1943)
                     -   Mail order sales to doctor
                     -   Most sales were Morphine
                     -   Increase in quantities purchased
                     -   Business practices attracted customers w ho were
                         violating the law
                     - Drugs have inherent susceptibility to harmful and
                       illegal use




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                    MCKMDL00496863
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                              Suprerne Court Case
                                          i

                   • United States v. Moore
                             423 U.S. 122 (1975)
                      - Usual course of professional practice
                         •   Patient with a Medical Complaint
                         •   History
                         •   Physical Examination
                         •   Nexus Between Complaint/History/Exam and Drug
                             Prescribed




                                DEA Internet Policy
                   • 66 FR 21 ,181 (2001)
                   • Prescriptions can only be issued by a
                     doctor acting in the usual course of
                     professional practice
                   • Prescription not issued in the usual course
                     of professional practice is not valid
                   • An Internet questionnaire alone is not
                     sufficient to legally prescribe controlled
                     substances




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                     MCKMDL00496865
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                                             VIPPS
                   • National Association of Boards of
                     Pharmacy
                      - Licensed, legitimate, Inspection

                      - Verified Internet Pharmacy Practice Sites

                      - 14 VIPPS Approved Pharmacies as of 06-27-
                        2005
                      - www.nabp.net/vipps/consumer/faq.asp




                     American Medical Association
                   • H-120.949 Guidance for Physicians on
                     Internet Prescribing
                      - valid patient-physician relationship, includes,
                        but not limited.to:
                         •   History and physical exam
                         •   Dialogue with patient
                         •   Follow up to assess outcome
                         •   Maintain medical reco rd
                         •   Include electronic prescription in patienfs medical
                             record

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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                 MCKMDL00496866
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                   Federation of State Medical Boards

                  • Created Model Guidelines for the
                    Appropriate use of the Internet in Medical
                    Purpose

                     - Treatment and consultation made in an online
                       setting will be held to same standard as face-
                       to-face settings.
                     - Treatment based solely on an online
                       questionnaire is not acceptable




                              Suspicious Orders
                  • 21 CFR 1301.74
                  • Requires that registrants design and
                    operate system to identify suspicious
                    orders

                  • Report suspicious orders to DEA when
                    discovered




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                    MCKMDL00496867
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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                    MCKMDL00496868
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                                    Example #1

                  • Retail pharmacy
                     - Quantities of drugs
                     - Range of drugs sold - only Phentermine
                       0
                     -  /o controlled and % non-controlled
                     - Size of orders over time
                     - Location of store




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                    MCKMDL00496869
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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                    MCKMDL00496871
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                                    SUMMARY
                  • Prescriptions not written in the usua!
                    course of professional practice are not
                    valid
                  • Drugs dispensed pursuant to invalid
                    prescriptions are not for legitimate medical
                    purpose, the drugs are diverted
                  • Not limited to Internet pharamcies




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                    MCKMDL00496872
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                                    SUMMARY
                   • A pattern of drugs being distributed to
                     pharmacies who are diverting controlled
                     substances demonstrates the lack of
                     effective controls against diversion by the
                     distributor

                   • The DEA registration of the distributor
                     could be revoked under public interest
                     grounds




                                    SUMMARY
                   • Any Distributor who is selling controlled
                     substances that are being dispensed
                     outside the course of professional practice
                     must stop immediately

                  • DEA cannot guarantee that past failure to
                    maintain effective controls against
                    diversion will not result in action against a
                    distributor




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                    MCKMDL00496873
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                                    SUMMARY
                  • DEA will:
                     - Meet with other distributors involved in
                       distributing to Internet pharmacies
                     - Provide this information to your employees at
                       your request
                     - Meet with Industry groups or associations to
                       discuss issue if requested




                             Contact Information
                  Michael Mapes
                        Chief, E-Commerce Section
                        703-653-2048


                  Kyle Wright
                        Chief, E-commerce Operations Unit
                        703-653-2103




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                    MCKMDL00496874
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